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                        IN    THE    UNITED    STATES    DISTRICT        COURT


                               FOR    THE   DISTRICT     OF MONTP1NA

                                       MISSOULA       DIVISION




          CAUSE    NOS       CV-98-141-M-DWM
                             CV-99-103-M-DWM

          THOMAS         MURRAY and HELEN
          MURRAY       husband and wife


                                    Plaintiffs


                  vs
    10    W.R  GRACE           CO.-CONN
          Connecticut         corporation        et    al
                                    Defendant
    12


    13


    14                                 VIDEO    DEPOSITION


    15                                           OF

    16                                 THOMAS          MURRAY


    17


    18


    19                          Taken       at the Residence        of
                              Thomas       and Helen    Murray
    20                               728 South Third West
                                       Missoula Montana
    21                          Monday        October18          1999
                                              900 a.m
    22


    23


    24

             Reported by ilolene Asa P.PR                   and  Notary Public
    25          for the State of Montana                    Fiathead   County
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                                                                                                23




                         In    92          My   arithmetic        is       not   very    good


          today      Subtract         16    from    92      and youve            got    it

                         76      Does       that    sounds       right

                         Yeah         Thats        right

                         Did you       like being              lawyer

                         Yeah         Yeah

                         Znd    you    and your          family       lived      in Missoula


          that   whole    time that you             practiced

                         Except       for       Superior

    10                   Id like           to talk       specifically            now    about


    11    the time    that      you    spent       in Libby       working         at


    12    Zonolite        Can you          tell us when          you       first started        at


    13    Zonolite

    14                   When    did            first --


    15                   Yes

    16                   Yeah         It    was    the summer of             1978         think

    17                   Do    you    mean       78
    18                   No      Not       78       19    --    Cripes           48       Right

    19                   When    you       were    in law school

    20                   Yes

    21                   What    was       your first job             at    Zonolite

    22                   Sweeping          in    the mill


    23                   Do    you    remember        who      your    supervisor         wan

    24                        dont remember

    25                   Do    you    remember        the kind         of    work      that   you
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                                                                                                   24




          cud    as     sweeper          in    the mill


                            Well     they       give me              push    broom     and


         pushed       the    dust        put    it    into           container       and went


          back    sweeping         again

                            Was    the mill running                  when    you    were


          sweeper

                            Oh yes

                            Can    you    describe          the      conditions       of the


          work    in the      mill

    10                      Very     very       dusty           Very       dusty

    11                      Were    there       any    fans        in the mill when          you

    12    worked      there

    13                      Fans

    14                      Yes

    15                      Not    that         know       of

    16                      Did    you    have       any    other      jobs    besides


    17    sweeping      in the mill that                   first      summer

    18                      Construction                    worked         on the

    19    construction            crew

    20                      can    you    describe          what      that    was    like

    21                      Well     we       did      lot      of    constructing         of the


    22    miii itself                remember          that          and      remember       --



    23                      Was    that       work    in     the     mill

    24                      Yes

    25                      Was    the mill running at                     that    time
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                                                                                                    25




                            Yes      Yes         Then            got some    overtime          work


         sacking       raw    ore        and my       job    was    to       This       was

         overtime       work       where    the mill was             not running              and   my

         job    was    to hit       the    thing       to shut       off the       ore going

         into    the    sack        and         bruised       my hand              remember


         that

                            That    was    that       first summer


                              think       so

                            Did    you    work    in any         other     places       around

    10   the    Zonolite          facility       that       first    summer

    11                        think that               worked       where    they dumped

    12   the ore        from where          the       trucks       dumped    it    into         bin


    13   up on the          hill where           they were          mining       it

    14                      Im going to           show       you         photo    here        Tom

    15   and    see    if    this looks          like where                Okay         Do    you

    16   recognize          that

    17                      Yes      Yes

    18                      Can you       describe          that photo2

    19                      Yeah         This    is    the truck          that    was    loaded

    20   with    ore         Its     dumping          into         pit     and        was     in

    21   this overhead             place    on that          side    so    that     the ore

    22   would     come      in here        and         was       right           sitting      down


    23   right next          to    it

    24                      Were    you    sitting          in      building

    25                      Yes
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                                                                                                  27




                           Real    close              was   sitting      right here

                           Can    you    describe       the    conditions


                           It    was    dusty       real dusty           When    they


            dumped      the ore    in     it    was    just         all the dust            from


            the ore would         come    in too

                           .nd was       this for the whole              shift      that     you

            were        the     trucks    were      dumping

                           Yeah         Yeah

                           Did                                                              the
                                  you work       those      same    type of      jobs

    10      second      summer

                           You    know        Im not        sure         just cant

    12      remember      for sure if            --         think   they      did     but


    13      think        did     but         dont     remember      for sure


    14                     Did    you    work    in the mill again


    15                     Ithinkso

    16                     Was    there         time    that you       worked        any    other


    17      jobs besides         in the       mill or with          the construction

    ia..   ...department


    19                     Yeah              worked    in the garage


    20                     How    is    it    that you        got to   work     in    the


    21      garage

    22                          accidentally          dropped          tool    on the head

    23      guy    of   the construction            company

    24                     Did    you    hit    him

    25                     No           missed      him       but he    thought       that
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                                                                                                           28




          did   it   deliberately                   think        and he          fired me            and


          the next        day    the head          guys called             me    in and asked              me


          about      it     They       said        Was    that            difference           in


          personality

                                said        There       sure    was

                           They       said        Well     wet 11         put you         in the


          garage      and       so      worked          in the garage


                           What       kind    of work          did    you       do   in    the


          garage

    10                     Welding          and          Mostly       welding                  think

    11                     Was       the garage            dusty place               to   work

    12                     No         Not    really

    13                     HOW       would    you       compare       the       dust      in    the


    14    garage     to    the dust          in the       mill

    15                     Oh gosh                The    mill was          really dusty

    16                     How       long    did    you    work       in the         garage

    17                     Until            went    back       to law school


    18                    .When       you    were       hired    at       Zonoilte             did    the


    19    company     warn       you    that       exposure          to    the dust            could   be


    20    harmful     to    you

    21                     No

    22                     When       you    were       hired    at       Zonolite             did    the


    23                warn              that       asbestos          could       be harmful            to
          company                you

    24    you

    25                     No
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                                                                                                         29




                             When    you    were    hired at             Zonolite         did      any

           of    the    workers      warn    you    about          the dust       or asbestos

                             No

                             Did    you    ever    see       any    signs       when    you     worked


           there about            dust or asbestos


                             No

                             Did    your supervisors                ever    warn       you    in


           safety       meetings         or at other          times about           the      dust

                             No

    10                       Do    you    ever    remember          other       workers       talking

           about       the   dust

    12                       No      No

    13                       Were    you    aware       that       asbestos       was     present

    14     while       you   were    working       at    Zonolite

    15                       No

    16                       Did    you    understand          what       you    were     working


    17     with

    18   ...                 What    do you       mean

    19                       What    was    in the       ore

    20                       Zonolite

    21                       Were    you    aware       when       you    worked       at Zonolite

    22     that other         workers       were    developing             illnesses          from


    23     the    dust

    24                       No      No

    25                       Did    you    belong       to     the union         when     you
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                                                                                                      30




         worked       at    Zonolite

                           No           didnt             They had            special        deal    for


          college      people          that    didnt           have    to    join the union

                           Were        you    aware       when      you     worked     at    Zonolite


          of   any    inspections             at    the    facility          regarding        the


          dust

                           No

                           When        did    you    eventually             leatn      that you      had


          worked      around          asbestos

    10                      In 1997            went       to    the doctor           for


    11    physical         checkup           and it was          the      first time that


    12    anybody      had ever             tested    my oxygen             with        little


    13    device      where       you       stick    your       finger       in there          and    it


    14    tells you         what       your oxygen             is      And    if    youve      got


    15    good    oxygen          youre        up around            100       If     youve      got


    16    bad      like          had    --    It    was    in    the      60s

    17                      How       did    you    learn that            youd       worked     around


    18    asbestos         from that


    19                           was    put    in    the       hospital and

    20    Dr     Beckmeyer            eliminated          the dust          from farming            that


    21         had done      as the cause                  He    eliminated            the   smoking

    22    that        used       to    do    and    said with          no question           about     it


    23    it    was   asbestos          fibrosis

    24                      Do    you       recall    when       you      learned       that    other


    25    workers      from Zonolite                were       becoming         sick    from the
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                                                                                                     31




          dust

                             dont        think            ever    learned       that

                         Did      you    learn after you                were    diagnosed

                         Yes

                         When      you       went    to work       at    Zonolite         did    you

          receive     any    training          or warnings             about    respirators

                         No

                         Was         respirator            ever    made       available     to


          you   during      the    time you          worked       at Zonolite

    10                   No        No

    11                   Did you         ever       see           of    the    other   workers
                                                           any

    12    at Zonolite        with            respirator

    13                   No

    14                   How      about              Supervisors
                                              any

    15                   No

    16                   Did             of    the other          workers       or
                                  any

    17    supervisors        ever       talk       about    respirators

    18                   No

    19                   What      did       you    do when              were    working        in
                                                                  you

    20    dusty     conditions          to    help       with    the dust

    21                   Oh       you    mean       --    Once    in awhile          Id put
    22    handkerchief         over      --    Id hold             handkerchief           over

    23    here

    24                   Did one of            the       supervisors          or other

    25    workers     tell     you      to    do    that
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                                                                                                   34




                          Did    you    ever    talk with         any       of the other

          workers    at other          times about         the    dust

                               dontt    think       ever     talked          with      anybody

          about    the    dust

                          Did    you    smoke when         you   worked          at Zonolite


                               think         did

                          Did    the company         ever    warn          you   about       the


          dangers    of    smoking during            the    time       that      you    worked


          there

    10                    No      No

     11                   Did    the company         ever    warn          you   after       you

     12   left    Zonolite       about       the dangers         of    smoking

     13                   No

     14                   After       you    left   Zonolite          at    the end         of   that


     15   second    summer did you              ever     hear     from Zonolite


     16   again

     17                   Yes         They    sent me        letter          saying         they

     18   wanted    me    to come       up at their expense                      and    they

     19   wanted    to check          me
     20                   Do    you    remember      when    that          was

    21                         think    it    was   in     83 or       84        or    something

     22   like that

     23                   And    did    you    go
    24                    Yes          did

    25                    Do    you    remember      why    you       decided          to   go
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                                                                                                            35




                          Well        it was               free        trip         We    went    to


          Libby    often       to    see       our relatives                 up there            It   was

          free    trip    to    go up there                     and so         went

                          What       happened             when     you       got    to Libby


                          Some       fellow          --    .1   dont         even    know       who   he


          was       had machines                that he tested                 my breathing                 and


          they    took         --         think       they took                   chest    x-ray also

                          Did       you    ever       receive           an x-ray or that


          breathing       test       when       you       worked        at    Zonolite

    10                    When            worked          there

    11                    Yes

    12                    No

    13                    Did       the officials                 who    were       conducting             the


    14    test    in 1983           when       you    went        to    Libby       --    Did    they


    15    tell you       the results of                   your tests

    16                    No         They told me                 that       it    was    going       to    be


    17    sent    to       think          it    was        McGill        University             in


    18    Canada

    19                    Did       they       tell you           whether          they    were       doing

    20    other    similar exams on other                          workers

    21                         dont        remember

    22                    Did       the    testing              officials          ever    tell       you

    23    the    reason    that       they were                 conducting          those       exams

    24                    It     seemed to me                   that    they were          emphasizing

    25    smoking
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                       Had    you    been    experiencing             breathing


          problems    before    you       went    to    Libby on that           trip

                       Oh yes

                       Did    you    tell those          officials           about    it

          about   your breathing           problems

                            dont     --      dont        remember

                       Did    you    tell    the       breathing              the


          officials    that were          doing    the examinations                 that you


          smoked

    10                 Oh     yes

                       What    was    their response             to     that

    12                      dont     remember          that

    13                 Did    the    officials          warn   you      at    that    time


    14    that    smoking was       dangerous          for   you

    15                      dont     --      dont        think     so           dont

    16    remember


    17                 Were    you    ever       made    aware     of    the results of


    18    that    study

    19                      dont     think       so          dont       think       so

    20                 Did    the company          or the      officials            doing    the

    21    testing    ever    tell you       that       they were        doing         study

    22    on asbestos       exposure

    23                 No

    24                 When    did    you    first learn that                 youd       been


    25    exposed    to asbestos
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                                                                                          45




          she   said     this is          an awful          lot of    people

                                  MR     MacDONrLD            Object     as to hearsay


          BY    MR LCEY

                          Have    you    ever    been       exposed     to   asbestos    in


          any   other     job

                         2ny     other    job

                          Yes         Other    than    Zonolite


                          Not    that         know    of

                          How    often    do you       see    Dr      Beckmeyer    now

     10                   Once         month

     11                   What    treatment          has    Dr    Beckmeyer     given


     12   you

     13                   Well          take    four breathing           treatments


     14   day   down     on that machine             down    there      and       te two
     15   other    breathing          treatments           one   in   the morning       and


     16   one    in the    evening

     L7                   Are you       on oxygen


     l8                   24    hours         day

     19                   When    did    you    first go on oxygen


     20                   In     the hospital          when      they   discovered       what


     21   was    wrong    with    me

     22                   Do    you     remember      when       that was


     23    approximately

     24                   It    was     in March      1947

     25                   1947
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                                                                                                     46




                             mean        97
                           Okay         Since    you       went    on oxygen             have    you

          ever     not used       it    for      period

                           No           did    one    time wake         up     and            didnt

          have     any    oxygen        and      was       feeling      kind       of    funny

          and       got    up     and         found    out that         we    had         power

           failure        and the machine             had    shut    off           So         went


          up      and      got    it    started       again

                           But    it    woke    you    up because            you    didnt        have


     10   the oxygen        going

     11                    Apparently               Apparently          yeah            Now

     12    its     --    Right    now    Im taking           oxygen          and    Ive        got    --


     13   They     changed       the machine           and       its plugged             it    now

     14                    Does    the oxygen          help       you

     15                      imagine            Ive        been    on it      24    hours


     16    day

     17                    Has    Dr     Beckmeyer          prescribed         other


     18   medication        for    you

     19                    Well        yes      That       breathing         treatment


     20    told you       about    down       there    and       the other         ones       that

     21    take    two puffs                   --    two    in    the morning            and two
                                        day

     22   at night

     23                    You    mentioned          that    you    were      on         steroid

     24   before

     25                    You    mean    the other          medications                 Oh     yeah
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                                                                                                  50




                        Can you        describe          how    it    feels    when      you


          experience      shortness          of breath


                        Pardon

                        Can     you    describe          how    it    feels    when      you

          experience      shortness          of breath


                        Well      it    doesnt           feel    very       good         Ill

          tell you      that

                        Can     you    describe          how    it    feels        you   know

          when   you    dont     have       the    energy       that you       used      to

     10                 Well      its hard              to describe           really            You

     11   have   to sit    down       until       you    can breathe               Im kind        of


     12   breathing     normally        right now                think         Otherwise

     13   im --       Witness     indicated              --    puffing       and having


     14   heck   of      time getting             my breath          back

     15                 What     kinds       of    activity          can    get you      puffing

     16   like that


     17                 Just     any    little bit of                activity            Just any


     18   little bit      of    activity

     19                 Has     your condition                gotten       worse    in    the


     20   last   year or       two

     21                    think       it    has

     22                 Have     the doctors             suggested          that    its

     23   getting      worse

     24                 Well           dontt       think he talks             about       that


     25   much   anymore        since       we    discussed          it    before
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                                                                                                      52




                            Are there          daily activities                  that your


          breathing         prevents          you     from doing


                            oh      yes             cant      do any           yard    --   Well

          cant       do anything              really

                            What     type      of     stuff that you              try to      do that


          you   notice       right now           your breathing                 really

          bothers      --     really prohibits

                            Just     taking           light        sack        of newspapers         or


          something         out to the garbage pail                       is          no-no

    10                      You     cant       do that

    11                      Huh-uh

    12                      Do     you    ever      try and        run errands


    13                            go to       the grocery          store         and        get


    14    cart       and      of    course             take    my portable              oxygen      with


     15   me    and         take     my time          in    the grocery           store filling


     16   my cart           Then     when           check     out       the people           in     the


     17   store take          my cart and put                the    groceries           in my car


     18   and then         when          get home           either      Helen         or the


     19   grandchildren             or whoever             takes    the groceries              from


    20    the   car    into        the house

    21                      rio    you    try to       bring       in groceries


    22    sometimes

    23                      Yes      and       Dr     Beckmeyer         told      me    to quit


    24    that because                   He    said    the    worst        thing you          can    do


     25   is    to         with     my lung problem                is     to    carry       something
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          down   here          It    puts         lot    of    pressure          up here

                          You       mentioned          yard work             Was    there yard


          work    that you          try to do          now

                          Oh yeah                7uat    --    When          first noticed

          the yard       work       getting       terrible           is     Id try to mow
          the lawn       and mow          about    ten minutes               and    Id have        to

          sit    down

                          nd when           was    that

                          That was          about       three        or four years          ago

    10    something       like that

    11                    What       do you       do    for yard work              now

    12                    Hire       it

    13                    Do    you       ever    experience              coughing      problems

    14                         little       bit yeah

    15                    Can       you    describe       when        that    happens

    16                    Once       in    awhile        when        Im leaning           back     all



     17   of      sudden            get    something           in    this    area       in my


     18   throat        and         cough    and       cough         and then            sneeze    and

    19    sneeze

    20                    How       has    being       on the oxygen             affected        your

    21    life

    22                    Well        since       Ive     been        on oxygen

    23    practically          do nothing

    24                    Is    there       stuff       that        you   used     to   be able     to


    25    do that       you    cantt       do now       because           youre     on oxygen
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                                                                                                      54




                         Oh yeah              Just            lot    of     things

                         What        type of       things

                         Well         for instance              the portable             oxygen       is


          good    for maybe two             hours        so         cant         go do things

          that take      over        two    hours        like anything              that    takes


          over    two   hours

                         What        type    of    things       did        you    used   to do


          that would       take


                         Sporting           events       primarily

    10                   How     about       driving               Does     driving

    11                   Oh yeah              We       used    to do             lot of driving


    12    to       up the       Bitterroots             and up to Polsoit                used     to


    13    drive    to   Libby          lot

    14                   Do     you    get td Libby anymore


    15                   No            havent           been       to Libby        since    1946

    16                    1946

    17                    Or    96
    18                   Are     there       times       that       .you    would    have       liked


    19    to   have     gone    to    Libby       recently

    20                    Oh yes             You       bet         Yeah

    21                    Were       there       any    events       in the        last year


    22    that    you    can    think       of    that        if    you     hadnt        been    on


    23    oxygen        youd     have       gone       to Libby          for

    24                    Oh yeah

    25                    Did    you       used    to    like       to     travel         lot
